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UNITED STATES DISTRICT COURT... . .... 4;
MIDDLE DISTRICT OF FLORIDA = _—* os
TAMPA DIVISION
UNITED STATES OF AMERICA ex rel.
BOYD JERRY HARRISON,
Plaintiffs,
Vv. Case No. 8:17-cv-2332-T-35AAS

CARESYNCG, INC.,

Defendant.

ORDER

THIS CAUSE comes before the Court for consideration of the United States’
Notice of Election to Decline Intervention, in which the United States informs the Court of
its decision to decline to intervene in this action pursuant to the False Claims Act, 31
U.S.C. § 3730(b)(4)(B). (S-18)

Accordingly, upon consideration of the foregoing, it is hereby ORDERED that:

1. The Complaint herein SHALL be unsealed and served upon the Defendant.
2. All other contents of the Court's file in this action SHALL remain under seal
and not be made public or served upon the Defendant, except for the
following additional documents:
a. the United States' Notice of Election to Decline Intervention;
b. and this Order;
which the Relator SHALL serve upon the Defendant only after service of

process has been effected on the Defendant.
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3. The seal SHALL be lifted as to all other matters occurring in this action after —
the date of this Order.

4. Any Party who files or otherwise serves a pleading, motion, notice, or other
paper in this action SHALL also serve a copy of such document upon
counsel for the United States, as provided for.in 31 U.S.C. § 3730(c)(3).
Additionally, the United States may order any deposition transcripts and is
entitled to intervene in this action, for good cause, at any time. See id.

5. Acopy of all Orders, Notices, and any other paper entered in this case by
the Court SHALL be sent to counsel for the United States.

6. Before proposing that this action be dismissed, settled, or otherwise
discontinued, the Relater or Defendant SHALL first solicit the written
consent of the United States.

DONE and ORDERED in Tampa, Florida, this 3rd oo of OP 2019.

Wr, Ah

MARYS. SGRIVE.
UNITED Sires ATES DISTRICT JUDGE

Copies furnished to:
Counsel of Record
Any Unrepresented Person
